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 ** H I G H L Y    C O N F I D E N T I A L **
  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF CALIFORNIA
  SAN FRANCISCO DIVISION
             Case No. 3:21-md-02981-JD
  -----------------------------------x
             IN RE GOOGLE PLAY STORE
  ANTITRUST LITIGATION
  THIS DOCUMENT RELATES TO:
             Epic Games Inc. v. Google LLC, et al.,
  Case No: 3:20-cv-05671-JD
  In re Google Play Consumer
             Antitrust Litigation,
  Case No: 3:20-cv-05761-JD
  In re Google Play Developer
             Litigation,
  Case No: 3:20-cv-05792-JD
  State of Utah, et al.,
             v. Google LLC, et al.,
  Case No: 3:21-cv-05227-JD
  Match Group, LLC, et al.,
             v. Google LLC, et al.,
  Case No. 3:22-cv-02746-JD
             -----------------------------------x
                  January 12, 2023
                             10:05 a.m.



         Videotaped Deposition of TIAN LIM,
  pursuant to Notice, held via Zoom
  videoconference, before Todd DeSimone, a
  Registered Professional Reporter and Notary
  Public.
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             Case 3:20-cv-05671-JD Document 387-1 Filed 02/09/23 Page 5 of 54
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  A P P E A R A N C E S: (Continued)
  ALSO PRESENT:
  KATE SMITH, Google
  KATHLYN QUERUBIN, Google
  STEPHEN MYERS, Match
  JESSICA REID, Videographer
  MADELYN GRANGER, Concierge Tech
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                                                                                   Page 5
  1          T. LIM - HIGHLY CONFIDENTIAL
  2              THE VIDEOGRAPHER: Good morning.
  3          We are going on the record at 10:05
  4          a.m. Pacific standard time on Thursday,
  5          January 12th, 2023.
  6              Please note that this
  7          deposition is being recorded virtually.
  8          Quality of recording depends on the
  9          quality of camera and internet
  10         connection of participants. What is
  11         seen from the witness and heard on
  12         screen is what will be recorded. Audio
  13         and video recording will continue to
  14         take place unless all parties agree to
  15         go off the record.
  16              This is media unit one of the
  17         video-recorded deposition of Tian Lim
  18         in the matter of In Re Google Play
  19         Store Antitrust Litigation filed in the
  20         United States District Court for the
  21         Northern District of California, San
  22         Francisco Division, case number
  23         3:21-MD-02981-JD. This deposition is
  24         being conducted remotely using virtual
  25         technology.
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                                                                                     Page 6
  1          T. LIM - HIGHLY CONFIDENTIAL
  2                My name is Jessica Reid
  3          representing Veritext Legal Solutions
  4          and I am the videographer. The court
  5          reporter is Todd DeSimone also from the
  6          firm Veritext Legal Solutions. I am
  7          not authorized to administer an oath, I
  8          am not related to any party in this
  9          action, nor am I financially interested
  10         in the outcome.
  11               Appearances will be noted on
  12         the stenographic record. So at this
  13         time could the court reporter please
  14         swear in the witness and counsel may
  15         proceed.
  16              * * *
  17         T I A N L I M,
  18         called as a witness, having been first
  19         duly sworn, was examined and testified
  20         as follows:
  21    EXAMINATION BY MS. CHIU:
  22         Q.     Good morning. Could you please
  23    state your name for the record.
  24         A.     Tian Fung Lim.
  25         Q.     Mr. Lim, are you currently
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  1          T. LIM - HIGHLY CONFIDENTIAL
  2    employed at Google?
  3          A.    I am not.
  4          Q.     When was your last day?
  5          A.    January 9th, 2023.
  6          Q.     And how long were you employed
  7    at Google?
  8          A.    About five years and three
  9    months.
  10         Q.     So, Mr. Lim, your deposition is
  11    obviously being conducted remotely today.
  12    Can you tell us where you are located right
  13    now?
  14         A.     I am vacationing in Arizona
  15    near the Grand Canyon.
  16         Q.     And when did you first decide
  17    to go on this trip?
  18         A.     Probably early December when I
  19    first got the car I wanted to take on this
  20    road trip.
  21         Q.     And when did you leave to go to
  22    Arizona?
  23         A.     The 6th of January 2023.
  24         Q.     Mr. Lim, thank you for taking
  25    time out of your vacation to appear
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  1          T. LIM - HIGHLY CONFIDENTIAL
  2    remotely for this proceeding today. You
  3    were previously deposed in this litigation;
  4    is that right?
  5          A.    That's correct.
  6          Q.     And are you aware that your
  7    deposition this morning is in connection
  8    with a hearing regarding Google's Chat
  9    message preservation?
  10         A.     I am.
  11         Q.     Now, at your prior deposition
  12    in this case you were asked questions about
  13    your use of Google Chat during your
  14    employment at Google, right?
  15         A.     That's right.
  16         Q.     So I'm going to ask you some
  17    additional questions about chat today. My
  18    first one being, Mr. Lim, did you use
  19    Google Chat during your tenure as a Google
  20    employee?
  21         A.     I did.
  22         Q.     And how frequently did you use
  23    chat?
  24         A.     I would say probably every
  25    working day.
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                                                                                      Page 9
  1          T. LIM - HIGHLY CONFIDENTIAL
  2          Q.     And what were the kinds of
  3    communications that you used chats for?
  4          A.     A lot of it was logistical,
  5    what is coming up in this next meeting, who
  6    is attending, those sorts of things.
  7    Occasionally there were some more
  8    substantive conversations.
  9          Q.     Did you typically use chat as a
  10    forum for discussing substantive
  11    communications about your work?
  12         A.      I generally strongly disliked
  13    using chat for substantive discussions. It
  14    was extremely hard to manage open issues,
  15    track alignment, track what the open issues
  16    are, and so I very much preferred moving
  17    those conversations to a format that was
  18    more conducive to driving alignment,
  19    getting all the disparate viewpoints in a
  20    structured way, such as documents or slide
  21    decks.
  22         Q.      And what other tools, if any,
  23    did you use to discuss business issues or
  24    make decisions as you were just describing,
  25    in addition to Google Docs?
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                                                                                      Page 10
  1          T. LIM - HIGHLY CONFIDENTIAL
  2          A.     I think Google Docs is the
  3    primary way in which things happened.
  4    Occasionally there would be some e-mail
  5    threads. But those e-mail threads I think
  6    also suffered from similar issues as chat.
  7          Q.     Now, Mr. Lim, during your
  8    employment at Google, did you ever have
  9    substantive business communications via
  10    chat?
  11         A.      I probably did.
  12         Q.      And what, if anything, did you
  13    do with information that you might have
  14    received that you thought was substantive
  15    or important that you received via chat?
  16         A.      If it was substantive referring
  17    to me, I might cut and paste it into my
  18    private notes doc. If it was pertaining to
  19    a project or decision or something else, I
  20    would generally move those -- move that
  21    information into a document or e-mail where
  22    it could be more efficiently and
  23    effectively followed up on.
  24         Q.      And why did you move that
  25    information into those formats?
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                                                                                      Page 11
  1          T. LIM - HIGHLY CONFIDENTIAL
  2          A.     It is just much easier to keep
  3    track of open issues. If something was
  4    like, for example, a substantive
  5    conversation was about feedback on a
  6    project, it does no good for that feedback
  7    to just sit in chat. It is much more
  8    useful to type that feedback into a comment
  9    on the project doc or e-mail that feedback
  10    directly to the project stakeholders to
  11    make sure it actually gets actioned.
  12         Q.      Were there any other reasons
  13    that you moved information out of chat into
  14    other formats?
  15         A.      Personal reference, things that
  16    I would need to refer to for my own needs.
  17         Q.      So I'm going to introduce a
  18    document. If we could upload PXCH 98.
  19                (Exhibit PXCH 98 marked for
  20    identification.)
  21         Q.      Mr. Lim, you should be able to
  22    refresh your screen in a few minutes and
  23    see that file appear.
  24         A.      I'm still waiting for it.
  25         Q.      It should be coming up in a
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  1          T. LIM - HIGHLY CONFIDENTIAL
  2    couple of seconds.
  3          A.     Okay, I have it open.
  4          Q.     So PXCH 98 is a document
  5    produced in this litigation by Google
  6    bearing Bates number GOOG-PLAY-004145883.
  7    It is dated January 19th, 2021.
  8                Mr. Lim, I will just represent
  9    to you that this is a chat that was
  10    produced by Google. Is that what it
  11    appears to be to you?
  12         A.      That's what it appears to be.
  13         Q.      And the participants on this
  14    chat communication are Ms. Purnima
  15    Kochikar, yourself, Mr. Alexi Douvas,
  16    Mr. Doug Lucas and Mr. Mike Hochberg; is
  17    that right?
  18         A.      That's correct.
  19         Q.      And do you recall this chat
  20    communication?
  21         A.      Vaguely.
  22         Q.      Could you provide us your
  23    recollection of what you are discussing or
  24    is being discussed in this chat?
  25         A.      I believe Purnima had started
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                                                                                      Page 13
  1          T. LIM - HIGHLY CONFIDENTIAL
  2    this sidebar conversation while we were all
  3    in a meeting reviewing our Runway project
  4    plan and she had some thoughts that she had
  5    been thinking about and I think wanted to
  6    get some feedback on.
  7          Q.     And the chat appears to have
  8    about six messages from Ms. Kochikar. At
  9    the very end of the chat is a message from
  10    you. Do you see that?
  11         A.      I do.
  12         Q.      Could you read aloud what your
  13    chat message says?
  14         A.      I said "what does the opposite
  15    of what? Sorry not quite sure I grok your
  16    point."
  17         Q.      And maybe to explain to others
  18    like myself who don't know tech lingo, what
  19    does "grok" mean?
  20         A.      In this context it means
  21    understand.
  22         Q.      And so what did you mean by
  23    your chat?
  24         A.      So reading off this, what's
  25    here, the first three messages from Purnima
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                                                                                      Page 14
  1          T. LIM - HIGHLY CONFIDENTIAL
  2    are somewhat understandable. The first one
  3    is she wants to start a sidebar
  4    conversation. The second one is she is
  5    responding to a conversation that Mike
  6    made. The third one, she is stating some
  7    concerns that she has expressed many times
  8    to the team before and actually we all
  9    share, and she is just stating that as an
  10    example of the sort of thing that she is
  11    concerned about. Then there are three more
  12    messages that I personally just didn't
  13    understand, hence my response.
  14         Q.      And so you were indicating to
  15    Ms. Kochikar that you didn't understand
  16    what she was communicating in that chat; is
  17    that right?
  18         A.      That's correct.
  19         Q.      Now, do you believe that
  20    Ms. Kochikar's opinions, to the extent you
  21    understood them in this chat, appear or are
  22    reflected in other Google documents?
  23                MS. MOSKOWITZ: Objection.
  24         A.      That's correct. Specifically I
  25    think the concern that she mentions in the
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  1          T. LIM - HIGHLY CONFIDENTIAL
  2    third message, that's something that she
  3    repeated many times over. The project team
  4    had probably heard it many times over. It
  5    was probably integrated into our artifacts.
  6          Q.     So I would like to show you
  7    another exhibit, Mr. Lim. If I could ask
  8    that DXCH 72 be uploaded into Exhibit
  9    Share.
  10                (Exhibit DXCH 72 marked for
  11    identification.)
  12         Q.      It is actually coming on now,
  13    Mr. Lim. If you can refresh your page.
  14         A.      Okay, I have it open.
  15         Q.      So this is another document
  16    produced by Google in this litigation
  17    bearing the Bates number
  18    GOOG-PLAY-01116053. It is a slide deck
  19    titled Project Runway - Developing a
  20    Broader Plan.
  21                Mr. Lim, do you recognize this
  22    document?
  23         A.      Vaguely.
  24         Q.      And do you think you saw it
  25    before today?
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                                                                                      Page 16
  1          T. LIM - HIGHLY CONFIDENTIAL
  2          A.     Probably -- it was probably
  3    presented to me.
  4          Q.     So I would like to direct your
  5    attention to slide 5 of this document,
  6    which ends with Bates numbers 6057.
  7          A.     I'm there.
  8          Q.     Can you explain to me what
  9    generally the information on this deck
  10    contains?
  11         A.      I believe, if I recall
  12    correctly, this was a fairly early slide
  13    deck describing my team's -- the collective
  14    cross-functional team's take on Project
  15    Runway, which turned into the Small
  16    Business Program, I think -- I think that
  17    was the external name.
  18         Q.      And does this slide reflect
  19    some of the concepts that were in the prior
  20    chat that we looked at, which is PXCH 98?
  21         A.      It does, in particular, I think
  22    the second bullet point under the first
  23    paragraph pretty much paraphrases Purnima's
  24    concern.
  25         Q.      You can set that aside,
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                                                                                      Page 17
  1          T. LIM - HIGHLY CONFIDENTIAL
  2    Mr. Lim.
  3                So I believe you mentioned
  4    earlier today and previously at your prior
  5    deposition that you copied and pasted chats
  6    into another document to save them; is that
  7    correct?
  8          A.     That's correct.
  9          Q.     So I would like to upload
  10    another document for you to take a look at.
  11    This was previously introduced as
  12    Plaintiff's Exhibit 108 in your deposition,
  13    but is now being assigned PXCH 170.
  14                (Exhibit PXCH 170 marked for
  15    identification.)
  16         Q.      For the record, it is a
  17    document Bates labeled GOOG-PLAY-007021362.
  18    It should be up now. Just let me know when
  19    you can get it.
  20         A.      Sorry, what was the number of
  21    the document again?
  22         Q.      Look for PXCH 170.
  23         A.      Okay.
  24         Q.      Mr. Lim, do you recognize this
  25    document?
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                                                                                      Page 18
  1          T. LIM - HIGHLY CONFIDENTIAL
  2          A.     I do.
  3          Q.     And could you just explain at a
  4    high level what it is?
  5          A.     It is a note -- a scratch pad
  6    set of notes that I kept for myself.
  7          Q.     And I would like to direct your
  8    attention to page 29 of this document. I
  9    recognize it's a pretty long one. That
  10    document, or that page, excuse me, has
  11    Bates number 21390.
  12         A.      Yes, I'm there.
  13         Q.      So could you explain to me what
  14    is the text that appears in italicized font
  15    at the top third of the page?
  16         A.      It appears to be an excerpt of
  17    a chat conversation between myself and
  18    Aaron Rothman, who was a PM director on my
  19    team.
  20         Q.      And do you recall generally
  21    what the conversation you were having with
  22    Mr. Rothman was about?
  23         A.      At a very high level.
  24         Q.      And what was it?
  25         A.      The context was that we at the
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  1          T. LIM - HIGHLY CONFIDENTIAL
  2    Play Store had generally been thinking
  3    about some blue sky concepts, brainstorming
  4    approaches to perhaps finding ways to
  5    bifurcate the store and trying to find ways
  6    to think about that.
  7          Q.     And why did you save this chat
  8    into your notes?
  9          A.     I think this was one of the
  10    first times I was talking about it with
  11    Aaron and he had a novel way of, novel to
  12    me, way of thinking about it, and I thought
  13    it was interesting and I wanted to noodle
  14    on it later.
  15         Q.      And your conversation with
  16    Mr. Rothman was relating to your work about
  17    the Play Store; is that right?
  18         A.      That's right.
  19         Q.      Mr. Lim, is this the only chat
  20    that you would have saved in your notes
  21    document?
  22         A.      Probably not.
  23         Q.      Do you recall if there were
  24    other chats that you put into your notes
  25    document?
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  1          T. LIM - HIGHLY CONFIDENTIAL
  2          A.     I might have, in the course of
  3    being a manager and requesting feedback on
  4    employees, cut and paste ping chats related
  5    to feedback on employees, as one example
  6    that comes to mind right now.
  7          Q.     Okay. So you can set that
  8    document aside.
  9                Now, Mr. Lim, you received a
  10    legal hold notice relating to this
  11    litigation; is that right?
  12         A.      That's correct.
  13         Q.      Do you recall approximately
  14    when you received that notice?
  15         A.      I believe it was September
  16    2020.
  17         Q.      Did you understand the
  18    instructions regarding document
  19    preservation that were in that legal hold
  20    notice?
  21         A.      I do.
  22         Q.      And what actions did you take
  23    to comply with those instructions in the
  24    legal hold notice?
  25         A.      This was probably one of at
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                                                                                      Page 21
  1          T. LIM - HIGHLY CONFIDENTIAL
  2    least ten or more other litigation holds
  3    that I was on, and so at this point in time
  4    I pretty much assumed that any substantive
  5    conversation or information I have is
  6    probably required in some legal hold of
  7    some kind or other, so my general policy
  8    was not to delete documents and to ensure
  9    any substantive information was preserved
  10    in some way.
  11         Q.      And what was your understanding
  12    regarding your obligation to preserve chats
  13    specifically as a result of the legal hold
  14    notice?
  15         A.      My interpretation was that if
  16    there was substantive information in chat
  17    that I should ensure the information was
  18    preserved.
  19         Q.      And did you comply with that
  20    instruction or obligation?
  21         A.      I believe I did.
  22         Q.      And how did you do that?
  23         A.      In some cases I would have cut
  24    and pasted into my personal document if I
  25    thought it might potentially be applicable,
                  Case 3:20-cv-05671-JD Document 387-1 Filed 02/09/23 Page 23 of 54
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                                                                                      Page 22
  1          T. LIM - HIGHLY CONFIDENTIAL
  2    but probably more often I would make sure
  3    that the information was funneled into the
  4    right documents, the right comments in
  5    other documents, to make sure that the
  6    right stakeholders would actually see it,
  7    integrate those thoughts, and action on
  8    them.
  9          Q.     Mr. Lim, did you ever turn
  10    history on in the chat program to save any
  11    chat conversations?
  12         A.      Not that I recall.
  13         Q.      Mr. Lim, I think you previously
  14    testified that you believed there were
  15    messages related to work that were deleted.
  16    Could you explain what you meant by that?
  17         A.      At the time of the previous
  18    deposition I think the definition of
  19    work-related communications was exceedingly
  20    broad, so by definition pretty much any
  21    communication I deleted would have been
  22    work-related, in chat, excuse me.
  23         Q.      And when you say anything
  24    work-related at the time of your
  25    deposition, what did you understand that to
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                                                                                      Page 23
  1          T. LIM - HIGHLY CONFIDENTIAL
  2    mean? Could you give us examples?
  3          A.     It appeared to mean pretty much
  4    anything that could have related to work,
  5    including grabbing people for lunch.
  6          Q.     Mr. Lim, did you make a
  7    good-faith effort to comply with your
  8    obligations to preserve chat communications
  9    that were subject to the legal hold?
  10                MS. MOSKOWITZ: Objection.
  11         A.      I believe I did.
  12         Q.      And what did you do
  13    specifically to preserve information
  14    received via chat?
  15         A.      As mentioned, I would ensure
  16    that relevant passages -- I would cut and
  17    paste relevant passages into a personal
  18    document, notes document. I might cut and
  19    paste the sentence into an e-mail and send
  20    that out to people to action on. I might
  21    have synthesized the information and put it
  22    into comments or feedback to stakeholders
  23    to ensure that the information was
  24    preserved in a more durable form in
  25    documents or slides.
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  1          T. LIM - HIGHLY CONFIDENTIAL
  2                MS. CHIU: I have no further
  3          questions at this time.
  4                MS. MOSKOWITZ: All right. Why
  5          don't we just take a quick break, if
  6          that's okay.
  7                MS. CHIU: Yeah. How much time
  8          do you need?
  9                MS. MOSKOWITZ: Ten.
  10                MS. CHIU: All right. Let's go
  11         off the record.
  12                THE VIDEOGRAPHER: We are going
  13         off the record. The time is 10:25 a.m.
  14                (Recess taken.)
  15                THE VIDEOGRAPHER: We are back
  16         on the record. The time is 10:36 a.m.
  17         This is media unit number two.
  18    EXAMINATION BY MS. MOSKOWITZ:
  19         Q.      Good morning, Mr. Lim.
  20         A.      Good morning.
  21         Q.      My name is Lauren Moskowitz. I
  22    represent Epic Games. I will be
  23    questioning you on behalf of all of the
  24    plaintiffs this morning.
  25                You understand that it was
                  Case 3:20-cv-05671-JD Document 387-1 Filed 02/09/23 Page 26 of 54
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  1          T. LIM - HIGHLY CONFIDENTIAL
  2    plaintiffs and not Google who sought your
  3    testimony for today's evidentiary hearing?
  4          A.     I believe so.
  5          Q.     And we are doing this by video
  6    because you are on a trip outside the
  7    jurisdiction of the courthouse?
  8          A.     That is correct.
  9          Q.     But you do understand that this
  10    testimony you are giving right now will be
  11    played to the Court this afternoon?
  12         A.      Absolutely.
  13         Q.      And you understand that you
  14    should testify exactly as you would if you
  15    were sitting in the courtroom right now
  16    with the judge present?
  17         A.      Understood.
  18         Q.      You mentioned that you worked
  19    at Google for just over five years, right?
  20         A.      That's right.
  21         Q.      And during your entire time at
  22    Google, you worked in the Google Play
  23    product area, correct?
  24         A.      That's correct.
  25         Q.      You talked a bit about your use
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  1          T. LIM - HIGHLY CONFIDENTIAL
  2    of chat during your tenure at Google. Is
  3    it fair to say that Google Chat has been
  4    used extensively over your five-year tenure
  5    at Google?
  6          A.     I would say that I personally
  7    used it a medium amount. I wouldn't call
  8    it extensive.
  9          Q.     You testified just earlier
  10    today and at your deposition that
  11    throughout your five-year tenure at Google
  12    you typically used Google Chat every day,
  13    correct?
  14         A.      That's right.
  15         Q.      And doing the math, just five
  16    years, you participated in many thousands
  17    of chats over your five years at Google?
  18         A.      Possibly.
  19         Q.      Do you have any reason to
  20    believe it's not in the thousands?
  21         A.      No, I do not.
  22         Q.      And you personally have used
  23    Google Chat for substantive business
  24    communications, correct?
  25         A.      Most likely, yes.
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  1          T. LIM - HIGHLY CONFIDENTIAL
  2          Q.     And substantive business, when
  3    we use -- when I use that term, that is not
  4    grabbing people for lunch, correct?
  5          A.     That's right.
  6          Q.     So if you wanted to speak about
  7    business matters with your colleagues, one
  8    of the ways you did that was over Google
  9    Chat?
  10         A.      Only when they really had to.
  11    I much preferred in person or documents or
  12    e-mails.
  13         Q.      Right. You mentioned that you
  14    preferred to collaborate in things like
  15    documents and presentations rather than
  16    chat and e-mail, you said that earlier?
  17         A.      That's right.
  18         Q.      But you still did use chat and
  19    e-mail to conduct substantive business
  20    communications, correct?
  21         A.      Yes.
  22         Q.      Many of the colleagues that you
  23    discussed business with over chat had
  24    responsibility over Google Play and
  25    Android, correct?
                  Case 3:20-cv-05671-JD Document 387-1 Filed 02/09/23 Page 29 of 54
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  1          T. LIM - HIGHLY CONFIDENTIAL
  2          A.     That's correct.
  3          Q.     For example, you chatted
  4    frequently with Mr. Alexi Douvas, I think
  5    you saw one earlier, the chief of staff for
  6    Google Play?
  7          A.     That's right. He was my chief
  8    of staff.
  9          Q.     And that wasn't just for lunch,
  10    right?
  11         A.      No.
  12         Q.      And you chatted with Mr. Aurash
  13    Mohbod, a senior engineering director for
  14    Google Play, correct?
  15         A.      That's correct.
  16         Q.      Not just for lunch, right?
  17         A.      That's correct.
  18         Q.      And you also chatted and
  19    conducted substantive business
  20    communications over chat with Greg
  21    Hartrell, Deepthi Menon, John Ayres, Doug
  22    Lucas and Purnima Kochikar, right?
  23         A.      That's correct.
  24         Q.      And those are all folks within
  25    the Android and Google Play business unit,
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  1          T. LIM - HIGHLY CONFIDENTIAL
  2    right?
  3          A.     They are all in the Google
  4    Play.
  5          Q.     And those were substantive --
  6    I'm sorry, I interrupted you.
  7                Those were all substantive
  8    business communications you had with those
  9    folks, right?
  10                MS. CHIU: I object to form.
  11         A.      I wouldn't say they were all,
  12    and I think I'm unclear as to what the
  13    definition of "substantive" here is.
  14         Q.      You conducted work-related
  15    business communications separate from
  16    logistical lunch grabbing, you actually did
  17    work in connection with your job over chat?
  18         A.      Yes. But, as I said earlier,
  19    more likely than not all that information
  20    ended up in a document or a presentation
  21    somewhere or an e-mail.
  22         Q.      Yeah, well, we will talk about
  23    that.
  24                But you conducted -- you had
  25    substantive business-related doing of your
                  Case 3:20-cv-05671-JD Document 387-1 Filed 02/09/23 Page 31 of 54
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                                                                                      Page 30
  1          T. LIM - HIGHLY CONFIDENTIAL
  2    job that happened over chat, correct?
  3          A.     I would say part of my job, or
  4    part of the business of doing my job might
  5    have partially occurred on chat, but then a
  6    lot of other stuff happens --
  7          Q.     I'm not talking about anything
  8    that happens anywhere else right now. I'm
  9    saying that you had work-related, not
  10    lunch, but business communications over
  11    chat, correct?
  12         A.      Correct.
  13                MS. CHIU: Counsel, I would
  14         just ask you to please give Mr. Lim a
  15         chance to finish his answers.
  16                MS. MOSKOWITZ: Nope, we're in
  17         court right now, he has to give me yes
  18         or no answers, and we are going to keep
  19         going.
  20         Q.      So I just want to be clear, all
  21    of the people I just listed out to you, you
  22    had substantive business communications on
  23    more than one occasion with each of those
  24    individuals, correct?
  25         A.      Correct.
                  Case 3:20-cv-05671-JD Document 387-1 Filed 02/09/23 Page 32 of 54
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                                                                                      Page 31
  1          T. LIM - HIGHLY CONFIDENTIAL
  2          Q.     And there were other people
  3    that I didn't list. You had so many chats
  4    that you can't even recall all of the
  5    individuals at Play with whom you messaged
  6    over chat, correct?
  7                MS. CHIU: I object to form.
  8          A.     That's correct.
  9          Q.     And you had an understanding
  10    that other people beyond you on the Play
  11    team communicated with each other over
  12    chat, correct?
  13         A.      I had that understanding that
  14    they were chatting with each other.
  15         Q.      And they were chatting about
  16    substantive business, not just setting up
  17    lunches, correct?
  18                MS. CHIU: I object to form.
  19         A.      I don't think I could speak on
  20    their behalf because I didn't -- I wasn't
  21    privy to all their chats.
  22         Q.      But you understood, though,
  23    that they were using it for substantive
  24    business, not just to set up lunch,
  25    correct, even if you didn't see them?
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  1          T. LIM - HIGHLY CONFIDENTIAL
  2          A.     It was a possibility, but I
  3    don't have direct experience.
  4          Q.     So you talked about earlier and
  5    you mentioned it again that when you have
  6    these substantive business communications
  7    over chat, that you sometimes moved those
  8    topics over to other formats, right?
  9          A.     That's right.
  10         Q.      But you didn't always do that,
  11    right? Not every single substantive
  12    business communication ended up in another
  13    format, correct?
  14         A.      I don't have any specific
  15    recollection of something that would have
  16    fallen into that category.
  17         Q.      Can you sit here and testify
  18    under oath that there is not a single chat
  19    that you participated in that didn't end up
  20    copied into another format?
  21         A.      I certainly don't recall that
  22    happening.
  23         Q.      Do you recall every single
  24    substantive business communication you ever
  25    had over chat?
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                                                                                      Page 33
  1          T. LIM - HIGHLY CONFIDENTIAL
  2          A.     No, I do not.
  3          Q.     So you can't tell me that every
  4    single substantive business communication
  5    you had over chat ended up copied into
  6    another format, can you?
  7          A.     No, I don't think I could say
  8    that.
  9          Q.     And even when you talked about
  10    moving things over to other formats, one of
  11    the ways you did that, I think you said,
  12    was that you synthesized the point that was
  13    being discussed that you thought was
  14    relevant to advance the work project you
  15    were working on and continued that
  16    communication on that other channel; is
  17    that fair?
  18         A.      Yes.
  19         Q.      You did not always copy and
  20    paste the entirety of the substantive
  21    business communication you were having over
  22    chat into those other formats, correct?
  23         A.      I would say that the
  24    substantive --
  25         Q.      Sir, can you just answer that
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  1          T. LIM - HIGHLY CONFIDENTIAL
  2    one yes or no? Your counsel will have a
  3    chance. Do you need to hear the question
  4    back?
  5          A.     Yes, please.
  6          Q.     You did not always copy and
  7    paste the entirety of the substantive
  8    business communication you were having over
  9    chat into those other formats, correct?
  10         A.      That's right.
  11         Q.      And you cannot testify under
  12    oath, can you, that your chats did not
  13    contain any information that would be
  14    relevant to this litigation that did not
  15    make its way into another document?
  16         A.      I would argue that anything
  17    substantive would have been -- would have
  18    made its way to an e-mail or document.
  19         Q.      The topic, not the actual back
  20    and forth chat though, correct?
  21         A.      The substantive information in
  22    the back and forth chat would have.
  23         Q.      Right. But you did not -- you
  24    cannot say that the actual back and forth
  25    communication that you had with your
                  Case 3:20-cv-05671-JD Document 387-1 Filed 02/09/23 Page 36 of 54
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  1          T. LIM - HIGHLY CONFIDENTIAL
  2    colleagues ended up in another document
  3    somewhere?
  4          A.     The exact back and forth
  5    sequence may not have made it all the way.
  6          Q.     So you decided what you thought
  7    was relevant for your business purposes
  8    what to put into this other format, right?
  9          A.     I'm sorry, I'm struggling with
  10    the term "business purposes" in this case,
  11    sorry.
  12         Q.      Well, let's make a distinction.
  13    You talked about being on legal holds,
  14    right?
  15         A.      That's right.
  16         Q.      When you were -- when you were
  17    deciding that something in the chat was
  18    something you wanted to put into another
  19    document, you were doing that not to comply
  20    with the legal hold, but to figure out what
  21    you needed to advance your business purpose
  22    of what you were working on, right?
  23         A.      But if there is substantive
  24    conversation about anything in particular,
  25    it usually is pertaining to or needs to be
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                                                                                      Page 36
  1          T. LIM - HIGHLY CONFIDENTIAL
  2    considered in all our business dealings, so
  3    that information generally makes it into
  4    our artifacts.
  5          Q.     And just to make sure everyone,
  6    including the Court, understands, your
  7    understanding of your compliance with legal
  8    holds was that it was enough for you to
  9    summarize or synthesize a point that was
  10    being discussed in a substantive business
  11    chat and put your summarization into
  12    another format, and that was complying with
  13    the legal hold?
  14         A.      For me, it was very similar to
  15    if you and I were in a meeting and we were
  16    taking meeting notes, and those meetings
  17    notes are a synthesized version of our
  18    conversation, and that is the durable
  19    document.
  20         Q.      Just let's go back to the
  21    question. And I want to be clear, was your
  22    understanding of compliance with legal
  23    holds that you were under that covered
  24    every aspect of your job, that it was
  25    sufficient for you to summarize a point
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                                                                                      Page 37
  1          T. LIM - HIGHLY CONFIDENTIAL
  2    that was being discussed in a substantive
  3    business chat and put your summarization
  4    into another document?
  5          A.     Sorry, could you repeat the
  6    question?
  7          Q.     Yeah. You testified earlier
  8    that you were under ten or so legal holds,
  9    right?
  10         A.      That's right.
  11         Q.      Sorry, I just need your audible
  12    answer. Can you just say it?
  13         A.      I said that's right, yes.
  14         Q.      Thank you. And you said, I
  15    think, that by virtue of those holds it
  16    covered every aspect of the work you were
  17    doing at Google?
  18         A.      That's right.
  19         Q.      So what I'm trying to make sure
  20    that I understand is that your counsel
  21    asked you some questions about your efforts
  22    to preserve documents under those legal
  23    holds, right? Do you remember that?
  24         A.      That's right.
  25         Q.      I want to understand if you
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                                                                                      Page 38
  1          T. LIM - HIGHLY CONFIDENTIAL
  2    thought that you are complying with your
  3    obligation to preserve chats by summarizing
  4    the business point that was being made in
  5    that chat and then putting your
  6    summarization into another format?
  7          A.     I think that's correct, but I
  8    would generally always make sure that the
  9    nuance and texture of the conversation
  10    would be represented appropriately.
  11         Q.      But not the exact back and
  12    forth of that conversation, correct?
  13         A.      That's correct. It was
  14    typically too chaotic and impossible to be
  15    a useful artifact.
  16         Q.      And just to be clear, you
  17    understood that your chats were not going
  18    to be automatically preserved because the
  19    default was for them to be destroyed every
  20    24 hours, correct?
  21         A.      We were generally aware that
  22    chats would disappear after 24 hours, yes.
  23         Q.      And you do not recall at any
  24    time when you ever turned on your chat
  25    history, right?
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                                                                                      Page 39
  1          T. LIM - HIGHLY CONFIDENTIAL
  2          A.     That's right.
  3          Q.     And you do not recall anyone at
  4    Google ever asking you to turn on your chat
  5    history, correct?
  6          A.     That's right.
  7          Q.     Let's look at this document,
  8    but we are going to give you the full
  9    document, not the fully redacted version,
  10    of PX 170. So please look into your
  11    Exhibit Share and pull up the unredacted
  12    version. Let me know when you have it,
  13    please.
  14                (Plaintiffs' Exhibit 170 marked
  15    for identification.)
  16         A.      Yes, I have it open.
  17         Q.      All right, this is like a
  18    70-odd page set of notes you took, right,
  19    in a Word -- in a Google document?
  20         A.      That's right.
  21         Q.      I think you have called it a
  22    scratchpad set of notes that you took for
  23    yourself, right?
  24         A.      That's right.
  25         Q.      Some pages in there, and your
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                                                                                      Page 40
  1          T. LIM - HIGHLY CONFIDENTIAL
  2    counsel pointed you to one, you copied and
  3    pasted some excerpts, as you put it, of
  4    some chats that you had with your
  5    colleagues, correct?
  6          A.     That's right.
  7          Q.     And those chats that you copied
  8    in here were substantive business
  9    discussions, correct?
  10         A.      They were important enough to
  11    me that I felt I needed to keep them.
  12         Q.      They were substantive business
  13    conversation that you conducted over chat,
  14    correct?
  15         A.      Substantive to me, yes.
  16         Q.      So you were making the decision
  17    as to what mattered to you whether you put
  18    it in this document?
  19         A.      Well, to me also means kind of
  20    the business concerns and company concerns,
  21    but yes, I'm making the decision as to what
  22    to keep here.
  23         Q.      Right. You weren't -- you
  24    weren't saying I need to put this in this
  25    document because I'm subject to a legal
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  1          T. LIM - HIGHLY CONFIDENTIAL
  2    hold, right?
  3          A.     That thought process doesn't
  4    occur because, as I said, I'm under so many
  5    legal holds, it's impossible to think that
  6    way.
  7          Q.     Right. But you didn't create
  8    this document and maintain this document
  9    for purposes of preserving all of your
  10    substantive business communications that
  11    you conducted over chat, correct?
  12         A.      That's right.
  13         Q.      Just to be clear, there are
  14    other notes that you have in this document,
  15    this isn't just a compilation of chats that
  16    you copied and pasted, right?
  17         A.      Sorry, could you -- what did
  18    you mean by that?
  19         Q.      In this 70 pages there are a
  20    bunch of just your notes from various days
  21    of what you jotted down over the course of
  22    the day, right?
  23         A.      That's correct.
  24         Q.      You also mentioned that you
  25    might have copied and pasted some chats
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                                                                                      Page 42
  1          T. LIM - HIGHLY CONFIDENTIAL
  2    into e-mails to have further discussion.
  3    Do you recall that?
  4          A.     Yes.
  5          Q.     Are you aware that Google
  6    produced 1.7 million e-mails of which
  7    37,000 were from you?
  8          A.     I was not aware of that.
  9          Q.     So I take it you're not aware
  10    that that production of e-mails contained
  11    zero chats that were copied and pasted into
  12    an e-mail?
  13         A.      I am not aware of that.
  14         Q.      And your counsel didn't show
  15    you any examples of this phenomenon, right?
  16                MS. CHIU: Objection. Counsel,
  17         that's privileged.
  18                MS. MOSKOWITZ: Well, you
  19         didn't show it today, correct?
  20         A.      There may have been privileged
  21    e-mails that may have had more stuff. I'm
  22    not entirely sure. But it is also quite
  23    possible that --
  24         Q.      That's fine. I'm just asking
  25    did your counsel show you at your testimony
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                                                                                      Page 43
  1          T. LIM - HIGHLY CONFIDENTIAL
  2    today any examples of you sending copied
  3    and pasted chats via e-mail?
  4          A.     Not today, no.
  5          Q.     There were many messages that
  6    you sent and received over your time at
  7    Google that were work-related and that were
  8    deleted, correct?
  9          A.     Sorry, could you say that
  10    again?
  11         Q.      Okay. Let's back up.
  12                You had history off by default
  13    and never turned it on, correct?
  14         A.      That's right.
  15         Q.      And some chats made their way
  16    into copied and pasted but others did not,
  17    correct?
  18         A.      Correct.
  19         Q.      And some substantive business
  20    communications that you conducted over chat
  21    did not end up copied and pasted into other
  22    documents, correct?
  23         A.      Not cut and pasted verbatim
  24    perhaps, but I would say that if there was
  25    substantive information, it got conveyed.
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                                                                                      Page 44
  1          T. LIM - HIGHLY CONFIDENTIAL
  2          Q.     I understand that that's your
  3    view of compliance. I'm just talking about
  4    the actual chat that happened, the back and
  5    forth, that the actual back and forth that
  6    you had, substantive business back and
  7    forth that you had in chats, some of those
  8    have been deleted, correct?
  9          A.     That's right.
  10         Q.      Many have been deleted,
  11    correct?
  12         A.      I wouldn't know.
  13         Q.      Well, you know how many you
  14    copied and pasted verbatim, right?
  15         A.      I don't have that off the top
  16    of my head either.
  17         Q.      Would you be surprised to learn
  18    that this document, PX 170, is the only
  19    document that was produced in this entire
  20    litigation that has any copied and pasted
  21    chats by you?
  22         A.      As I said, I think, for
  23    example, when there is a substantive chat
  24    on, like, for example, feedback --
  25         Q.      I'm only talking about copied
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                                                                                      Page 45
  1          T. LIM - HIGHLY CONFIDENTIAL
  2    and pasted.
  3          A.     Yes, I would cut and paste the
  4    body -- I might have cut and pasted the
  5    body of the chat but not the entire chat
  6    back and forth because sometimes I didn't
  7    need to. So I think that would not show up
  8    in discovery clearly as a chat.
  9          Q.     All right. So there were some
  10    chats that you decided you didn't need to
  11    preserve the full chat, right?
  12         A.      That's right.
  13         Q.      And as a result there were some
  14    substantive business communications that
  15    you sent and received that were deleted,
  16    right?
  17         A.      If they were truly substantive,
  18    I think the material made it elsewhere, but
  19    the chats themselves, you are correct,
  20    probably got deleted.
  21         Q.      Definitely were deleted?
  22    Definitely were deleted, right?
  23         A.      I can't say for sure, because I
  24    have no specific recollection.
  25         Q.      But you cannot testify that
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                                                                                      Page 46
  1          T. LIM - HIGHLY CONFIDENTIAL
  2    they weren't, right? You can't testify
  3    that no substantive business communications
  4    that happened over chat were not deleted?
  5          A.     That's correct.
  6          Q.     And some of those chats that
  7    were deleted were deleted during the course
  8    of this litigation, correct?
  9          A.     I wouldn't know that.
  10         Q.      Do you remember testifying to
  11    that at your deposition?
  12         A.      I don't recollect. It would be
  13    helpful if I had --
  14         Q.      You communicated over chat
  15    after this litigation was filed, correct?
  16         A.      Correct.
  17         Q.      So some of the chats that you
  18    conducted substantive business
  19    communications over were not preserved and
  20    were thus deleted, correct?
  21         A.      Again, the substantive
  22    information almost definitely made it into
  23    a document.
  24         Q.      Sir, I'm talking about copying
  25    and pasting of chats. There were
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                                                                                      Page 47
  1          T. LIM - HIGHLY CONFIDENTIAL
  2    substantive business communications that
  3    you had over chat that were not, after this
  4    litigation was commenced, that were deleted
  5    because the actual chat was not copied and
  6    pasted elsewhere, correct?
  7          A.     That's probably correct.
  8          Q.     It is definitely correct,
  9    right?
  10         A.      I wouldn't know specifically.
  11    I have no specific recollections of things
  12    that fell into that category.
  13         Q.      So you think that you can say
  14    that there were every single substantive
  15    chat that you had after this litigation was
  16    filed was copied and pasted into another
  17    document?
  18         A.      Not copied and pasted, not cut
  19    and pasted, but, again, I think substantive
  20    information, decisions, other things were
  21    communicated and preserved.
  22         Q.      I think we got the message.
  23                MS. MOSKOWITZ: I will pass the
  24    witness back. Thank you, Mr. Lim.
  25                THE WITNESS: Thank you.
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  1          T. LIM - HIGHLY CONFIDENTIAL
  2              MS. CHIU: Counsel, I just need
  3          like a five-minute break.
  4              MS. MOSKOWITZ: Yeah.
  5              THE VIDEOGRAPHER: We are going
  6          off the record. The time is 10:59 a.m.
  7              (Recess taken.)
  8              THE VIDEOGRAPHER: We are back
  9          on the record. The time is 11:07 a.m.
  10         This is media unit number three.
  11                MS. CHIU: Mr. Lim, thank you
  12         very much for your time this morning,
  13         but I have no further questions for
  14         you.
  15                MS. MOSKOWITZ: Okay. Thank
  16         you all. Thank you, Mr. Lim. I do
  17         appreciate you doing this.
  18                THE WITNESS: I appreciate you
  19         all making time and accommodation for
  20         me.
  21                MS. MOSKOWITZ: All right, we
  22         are done.
  23                THE VIDEOGRAPHER: This
  24         concludes today's deposition. We are
  25         off the record at 11:08 a.m. PST, and
               Case 3:20-cv-05671-JD Document 387-1 Filed 02/09/23 Page 50 of 54
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  1          T. LIM - HIGHLY CONFIDENTIAL
  2          the total number of media units used
  3          was three and will be retained by
  4          Veritext Legal Solutions.
  5
  6              [TIME NOTED: 11:08 a.m.]
  7
              ____________________________
  8              TIAN LIM
  9
         ________________________
  10    Subscribed and sworn to
         before me this _________
  11    day of ________________, 2023.
  12    _______________________
             Notary Public
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                I N D E X


               WITNESS            EXAMINATION BY                PAGE


               LIM                CHIU                             6
                       MOSKOWITZ                           24


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    PXCH               DESCRIPTION                       PAGE
               Exhibit 98        GOOG-PLAY-004145883              11
    Exhibit 170 GOOG-PLAY-007021362-                       17
                                 007021431


               PLAINTIFFS'         DESCRIPTION                  PAGE
    Exhibit 170 GOOG-PLAY-007021362-                       39
                                 007021431 (unredacted)


    DXCH               DESCRIPTION                       PAGE
               Exhibit 72 GOOG-PLAY-011116053-                    15
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    DIRECTIONS NOT TO ANSWER
    Page        Line
                       (NONE)



    REQUESTS
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                       (NONE)
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                CERTIFICATION


       I,    TODD DeSIMONE, a Notary Public for
    and within the State of New York, do hereby
    certify:
       That the witness whose testimony as
    herein set forth, was duly sworn by me; and
    that the within transcript is a true record
    of the testimony given by said witness.
       I further certify that I am not related
    to any of the parties to this action by
    blood or marriage, and that I am in no way
    interested in the outcome of this matter.
       IN WITNESS WHEREOF, I have hereunto set
    my hand this 12th day of January, 2023.




                          _______________________
                 TODD DESIMONE


                   *       *      *
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                     ERRATA SHEET
                      VERITEXT/NEW YORK REPORTING, LLC


              CASE NAME: IN RE GOOGLE PLAY
    DATE OF DEPOSITION: 1/12/23
              WITNESS' NAME: TIAN LIM


              PAGE/LINE(S)/         CHANGE               REASON
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              ____/_______/_________________/___________
    ____/_______/_________________/___________


                          ________________________
                    TIAN LIM
    SUBSCRIBED AND SWORN TO
              BEFORE ME THIS______DAY
    OF_______________, 2023.
    _______________________
                   NOTARY PUBLIC
    MY COMMISSION EXPIRES__________________
